            Case 1:21-cr-00158-RC Document 76 Filed 05/26/22 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :      Criminal Action No.: 21-158 (RC)
                                              :
KYLE FITZSIMONS,                              :      Re Document No.:      57
                                              :
       Defendant.                             :

                                          ORDER

 DENYING DEFENDANT’S MOTION TO DISMISS COUNT III OF THE SUPERSEDING INDICTMENT

       For the reasons stated in the Court’s Memorandum Opinion separately and

contemporaneously issued, Defendant’s Motion to Dismiss Count III of the Superseding

Indictment (ECF No. 57) is DENIED.

       SO ORDERED.


Dated: 05/26/2022                                             RUDOLPH CONTRERAS
                                                              United States District Judge
